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MAGISTRATE'S CRIMINAL MINUTES
COMPLAINT . .


                                               TIME IN COUR1     1          HRS.    4          MINS.


FILED IN OPEN COURT     DATE:     7/23/2021          TIME:       :48 pm     TAPE:       FTR



MAGISTRATE (PRESIDING): ALAN J. BAVERMAN                             DEPUTY CLERK:            Lisa Enix


CASE NUMBER:                                      DEFENDANT'S NAME:         Dawuan Na'jee Williams
                  1:21-MJ-700
AUSA:                                             DEFENDANT'S ATTORNEY:     Kendal Silas
                  Theodore Hertzberg
USPO/PTR:                                         TYPE OF COUNSEL: FDP
                  Lisa Moore
     ARREST DATE:

     INTERPRETER:

x    INITIAL APPEARANCE HEARING: ( ) IN THIS DISTRICT                     DFT IN CUSTODY? ( ) YES ( ) NO
     Due Process Protection Act Warning Given to Government's
     Counsel. Order on Page 2
                                                    COUNSEL
x   ORDER appointing Federal Defender as counsel for defendant | | INITIAL APPEARANCE ONLY
    ORDER appointing                                            as counsel for defendant.
    ORDER defendant to pay attorney's fees as follows:
    ORDER giving defendant until | | to employ counsel. | ( ) ORDER to follow
                                    PRELIMINARY HEARING
    PRELIMINARY HEARING SET | | at
    DEFENDANT WAIVES PRELIMINARY HEARING       WAIVER FILED
x   PRELIMINARY HEARING HELD. HEARING                        PROBABLE CAUSE FOUND; DEFENDANT HELD TO
    CONTINUED UNTIL 7/28/21 AT 11:30 AM                      DISTRICT COURT
    MISCELLANEOUS
                                    BOND/PRETRIAL DETENTION HEARING
x   Government motion for detention filed. Hearing set | 7/28/2021                  at | 11:30 am
    Temporary Commitment issued. Remanded to USM
    Bond Hearing Held
    Government motion for detention I I GRANTED | | DENIED                          WAIVED | | WITHDRWAN
    Pretrial Detention Ordered.           Written Order to follow.
    BOND SET AT
    NON-SURET^
    SURETY | ( )CASH                           )PROPER?/ |( ) CORPORATE SURETY
    SPECIAL CONDITIONS:

    BOND FILED; DEFENDANT RELEASE.

    BOND NOT EXCUTED. DEFENDANT TO REMAIL IN MARSHAL'S CUSTODY.

x   WITNESSES:

    Agent Michael Bustard, sworn and testified.

    Agent Ben Southall, sworn and testified.
           Case 1:21-cr-00310-SDG-LTW Document 7 Filed 07/23/21 Page 2 of 2

EXHBITS:

Government's Exhibits #1-8 admitted.



Order

        Pursuant to the Due Process Protections Act/ see Fed. R. Crim. P. 5(f), the government is directed
to adhere to the disclosure obligations set forth in Brady v. Maryland, 373 U.S. 83 (1963), and its progeny,
and to provide all materials and information that are arguably favorableto the defendant in compliance
with its obligations under Brady; Giglio v. United States, 405 U.S. 150 (1972); and their progeny.
Exculpatory material as defined in Brady and Kyles v. Whitley, 514 U.S. 419, 434 (1995), shall be
provided sufficiently in advance of trial to allow a defendant to use it effectively, and exculpatory
information is not limited to information that would constitute admissible evidence.


        The failure of the government to comply with its Brady obligations in a timely manner may result
in serious consequences, including, but not limited to, the suppression or exclusion of evidence, the
dismissal of some or all counts, adverse jury instructions, contempt proceedings, or other remedies that
are just under the circumstances.
